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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA )
Vv. Criminal No. 1:21-10018-PBS
GANG CHEN
DISMISSAL OF INDICTMENT

Pursuant to Fed. R. Crim. P. 48(a), the United States of America hereby dismisses the
Indictment in this matter charging Gang Chen with wire fraud, in violation of 18 U.S.C. § 1343,
failure to report a report of foreign bank and financial account, in violation of 31 U.S.C. §§ 5314
and 5322, and making a false statement, in violation of 18 U.S.C. § 1001. As a result of our
continued investigation, the government obtained additional information bearing on the
materiality of the defendant’s alleged omissions. Having assessed the evidence as a whole in
light of that information, the government can no longer meet its burden of proof at trial.
Dismissal of the Indictment is therefore in the interests of justice.

Respectfully submitted,

   

 

 

“B. Stephanie Siegmann
Jason Casey
Timothy Kistner
Assistant U.S. Attorneys

OA

 

David C. Aaron, Trial Attorney

U.S. Department of Justice

National Security Division
Counterintelligence & Export Control Section

Dated: January 20, 2022

 
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Leave to File Granted:

 

Patti B. Saris, Judge
United States District Court
